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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

                                                            X
Alexandra Faulkner,                                               Civ. Action No.:
                                                                  3:22-cv-00407-RNC
                                             Plaintiff,

                          -vs-
                                                                  JOINT STATUS
Quinnipiac University                                             REPORT

                                           Defendant.
                                                                  SEPTEMBER 9, 2022

                                                            X

          Pursuant to Honorable Judge Robert N. Chatigny’s August 9, 2022 Scheduling Order, the

parties, by and through their undersigned counsel, respectfully submit the following joint status

report.

1.        The status of the case, identifying any pending or anticipated motions and any

          circumstances potentially interfering with the parties’ compliance with the

          scheduling order, as well as a detailed statement of all discovery undertaken to date,

          including how many depositions each party has taken and the specific discovery that

          remains to be completed:

          To date, the parties have timely served their respective Rule 26 Initial Disclosures. Plaintiff

served her First Set of Requests for the Production of Documents and First Set of Interrogatories

on Defendant’s counsel on September 8, 2022, with responses due on or before October 10, 2022.

Defendant will serve its First Set of Requests for the Production of Documents and First Set of

Interrogatories on Plaintiff’s counsel on or before September 12, 2022. No depositions have been




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scheduled or taken at this time.

       At present, the parties do not anticipate or foresee any circumstances interfering with the

parties’ compliance with the Court's scheduling order.

       Currently, the exchange of written discovery, depositions, and expert discovery remain

outstanding.



2.     Any interest in referral for settlement purposed to a United States Magistrate Judge

       or the District Court’s Special Masters Program:

       Plaintiff maintains further discovery is needed in order to engage in fruitful settlement

negotiations. Accordingly, at this time, Plaintiff does not request a referral to a Magistrate Judge

or to the Court’s Special Masters Program for settlement purposes. In light of Plaintiff’s position,

Defendant is not requesting a referral for settlement purposes at this time.



3.     Whether the Parties will consent to either a jury trial or a bench trial before a

       Magistrate Judge:

       The parties do not consent to a jury trial or bench trial before a Magistrate Judge.



4.     The estimated length of trial:

       The parties estimate the trial of this matter to take five to seven days.




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                                 Respectfully Submitted,


PLAINTIFF,                                             DEFENDANT
ALEXANDRA FAULKNER                                     QUINNIPIAC UNIVERSITY

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